Case 6:18-@v@9§@215@<a15>@@>3@@p2@1@wbzl@zz§m§§@,q>@zaa§§.l?@,@%Q,@ § 9511§ Pa@€'D 6559

No. 16-17197

In the United States Court of Appeals
for the Ninth Circuit

 

 

FEDERAL TRADE COMMISSION ,
PlaintW-Appellee,

V.

AMG CAPITAL MANAGEMENT, LLC; BLACK CREEK CAPlTAL
CORPORATION; BRGADMOOR CAPrrAL PARTNERS, LLC; LEVEL 5
MOTORSP<)RTS, LLC; Sco'rr A. TUCKER; PARK 269 LLC; AND KIM C
TUCKER,
Defendant-Appellants.

 

On Appeal from the United States Distn'ct Court
for the District of Nevada
No. 2:12-cv-00536
Hon. Gloria M. Navaro, Chief Judge

 

BRIEF FOR THE CHAMBER OF COMMERCE OF THE UNITED
‘STATES OF AMERICA AS AMICUS CURIAE IN SUPPORT OF

 

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INTEREST OF AMICUS CURIAE1

The Chamber of Commerce of the United States of America is the world’s
largest business federation lt represents 300,000 direct members and indirectly
represents the interests of more than 3 million companies and professional
organizations of every size, in each industry sector, and from every region of the
country. An important function of the Chamber is to represent the interests of its g
members before Congress, the Executive Branch, and the courts. To that end, the
Chamber regularly files amicus curiae briefs in cases that raise issues of concern
to the nation’s business community.

The appropriate scope of enforcement powers granted by Congress to the
Federal Trade Commission (“FI`C” or “Commission”) is an important issue to the
Chamber’s members Clearly defining and enforcing the limits of these powers
ensures that industries and markets function effectively.

SUMMARY OF ARGUMENT

Section 13(b) of the Federal Trade Commission Act (“FI`C Act”), which
allows the Commission to seek only injunctive relief, provides no basis for the
expansive power to seek substantial monetary awards in the form of restitution or

dis gorgement. That reading of the statute is inconsistent with the statutory text, its

 

1 No party’s counsel authored any part of this brief. No one, apart from United
States Chamber of Commerce and its counsel, contributed money intended to fund
the brief’s preparation or submission All parties have consented to the filing of
this brief.

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structure and purpose, as well as the Supreme Court’s decision in Kokesh v. SEC,
137 S. Ct. 1635 (2017), which concluded that such monetary remedies are not
equitable in nature.

The unprecedented $1.3 billion restitution award in this case is the high-
Water mark of the Commission’s aggressive pursuit of monetary awards under
Section 13(b). The Commission recently withdrew its prior guidance that limited
the circumstances in which it would pursue such awards lnstead, the Commission
has declared that it will seek restitution and disgorgement for common industry
practices, even without a clear violation of the FTC Act. This change has caused
an increasing surge of monetary remedies recovered by the Fl`C under the guise of
“injunctive” relief. Other federal agencies have similarly pursued billions of
dollars in monetary awards in the name of equity, giving this issue an even greater
and broader importance The harm to businesses from this expanding liability
makes this question a critical one.

The Court should grant the petition for rehearing en banc and reverse the

decision of the prior panel.

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ARGUMENT
I. THE COMMISSION’S POWER TO ENJOIN VIOLATIONS OF THE

FTC ACT DOES NOT PERMIT IT TO SEEK MONETARY RELIEF
FOR PAST ACTlONS.

Amicus agrees with petitioner that en banc review is warranted because this
Court’s prior precedent failed to properly construe the FTC Act’s statutory
language, particularly in light of the Supreme Court’s decision in Kokesh v. SEC,
137 S. Ct. 1635 (2017).

Section 5 of the FTC Act broadly empowers the Commission “to prevent”
the use of “unfair or deceptive acts or practices in or affecting commerce.” 15
U.S.C. § 45(a)(2). The Commission may seek to prevent allegedly unfair practices
through administrative adjudications or by rulemaking to define specifically unfair
and deceptive acts. See Id. §§ 45(b), 57a(a)(1)(B). Section 13(b) permits the
Commission to seek an injunction in federal district court when it “has reason to
believe” a person “is violating, or about to violate” Section 5 of the Act. Id. §
53(b). Even though Section 13(b) is limited to injunctive relief , this Court in FTC
v. Commerce Planet, Inc., 815 F.3d 593 (2017), adopted a broad view of that
equitable power and held that Section 13(b) allows the court to award “ancillary
relief ,” including restitution. Id. at 598.

The Commerce Planet decision expanded the relief available under Section

13(b) far beyond what the statute’s text or purpose may bear. As Judge

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O’Scannlain noted in his special concurrence, the plain statutory language of
Section 13(b) “anticipates that a court may award relief to prevent an ongoing or
imminent harm-but not to deprive a defendant of ‘unjust gains from past

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violations Concurrence at 23 (quoting Commerce Planet, 815 F.3d at 598). The

plain language of Section 13(b), which is limited to the power to “enjoin” current
or imminent Section 5 violations, supports Judge O’Scannlain’s conclusion that
injunctive relief under Section 13(b) is limited to “a simple stop-gap measure that
allows the Commission to act quickly to prevent harm” - and not to provide
monetary relief (such as the restitution at issue here) for past actions. Icl. at 25-26;
see also FTC v. Skire ViroPharma, Inc., No. 18-1807, 2019 WL 908577, at *7, 9
(3d Cir. Feb. 25, 2019) (holding that Section 13(b) is “unambiguous” that it only
“prohibits existing or impending conduct” and thus “a violation in the distant past
and a vague and generalized likelihood of recurrent conduct” was not sufficient).

As the petition explains, the expansive view of equitable remedies adopted
by this Court in Commerce Planet is inconsistent with the Supreme Court’s ruling
in Kokesh, which, as Judge O’Scannlain noted, “undermines a premise in [this
Court’s] reasoning: that restitution under [Section] 13(b) is an ‘equitable’ remedy
at all.” Concurrence at 22.

Moreover, the FI`C Act as a Whole draws a sharp distinction between

forward~looking injunctive relief and backward~looking monetary relief-a

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distinction central to Congress’s design Perrnitting monetary restitution awards
under Section 13(b) “fails to give unique effect” to Section 19 of the Act, which
provides for monetary relief. Id. at 27. ln essence, Congress created a two-tiered
standard for relief when it passed the FTC Act, with one standard for injunctive
relief as to ongoing or prospective harm, and a higher standard, with additional
procedural protections, for backward-looking monetary relief for past
violations That distinction is important to the regulated public. Because the FTC
Act’s general prohibitions are vague, it is necessary that the FI`C provide the
public with fair notice of prohibited conduct before it imposes monetary sanctions
for past conduct

Specifrcally, Section 19 requires that, to obtain monetary relicf, the
Commission must either 1) prove that the defendant “violate[d] any rule under this
subchapter respecting unfair or deceptive acts or practices” (z'.e., a rule
promulgated by the Commission), or (2) if no such violation exists, obtain a “final
cease and desist order” through an administrative proceeding, and then prove to a
trial court that the defendant’s conduct was such that a “reasonable man” would
know it was “dishonest or fraudulent.” 15 U.S.C.§ 57b(a)(l)-(2); see also
Concurrence at 26.

In short, as Judge O’Scannlain explained, Section 19 “requires the

Commission either to promulgate rules that define unlawful practices ex ante, or

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first to prosecute a wrongdoer in an administrative adjudication that culminates in
a cease and desist order.” Concurrence at 27. Although, those protections as to the
prospect of monetary penalties are central to Congress’s design and to basic
fairness to defendants, they are completely eviscerated by Commerce Planet’s

expansive reading of the scope of Section 13(b).

II. CORRECTING THE FTC’S AUTHORITY TO COLLECT
MONETARY RELIEF UNDER SECTION 13(B) IS AN
INCREASINGLY IMPORTANT ISSUE.

This is an issue of substantial and growing importance as the Commission
increasingly pursues aggressive awards of disgorgement and restitution despite
having no statutory authority to do so. The escalating use of the FTC’s most
drastic remedy is, in turn, harming businesses that face the risk of potential liability
for common industry practices

A. The FTC Increasingly Uses Section 13(b) to Obtain Substantial
Restitution and Disgorgement Awards.

The staggering, record~setting $1.3 billion restitution award in this case
exemplifies the Commission’s recent expansion of its so-called equitable powers
under Section 13(b). The Commission itself declared that the award here is “the
largest litigated judgement ever obtained by the FI`C.”2 If left to stand, this

extension of the Commission’s power will only continue to grow.

 

2 Press Release, FI`C, U.S. Court Finds in FTC ’s Favor and Imposes Record $] .3
Billion Judgment Against Defendants Behind AMG Payday Lending Scheme (Oct.

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The Commission did not always take this expansive view of its equitable
authority. Until 2012, the FI`C took the position- through a Policy Statement-
that it would seek disgorgement and/or restitution only in “exceptional cases”
where there is, among other things, a “clear violation” of the law (such that the
defendant was on proper notice) and if other remedies are insufficient3 Policy
Statement on Monetary Equizable Remedies in Competition Cases, 68 Fed. Reg.
45821 (Aug. 3, 2003), 2003 WL 21780660. But in recent years, the Commission
has moved aggressiver to pursue monetary remedies under the guise of equity.

In 2012, the Commission withdrew its prior statement claiming that the
Policy Statement took “an overly restrictive view” of its discretion to seek
monetary relief. Withdrawal of the Comm’n Policy Statement on Monetary
Equitable Remedies in Competition Cases, 77 Fed. Reg. 47071 (Aug. 7, 2012),
2012 WL 3163476. The Commission also expanded its powers in other ways,
contending that it could seek such monetary remedies regardless of whether the
violation was “clear” or not, and has declared itself free to demand disgorgement

and/or restitution even where the alleged conduct is “common.” Id. Under the

 

4, 2016), https://www.ftc. gov/news-events/press-releases/2016/ 10/ us-court-iinds-
ftcs-favor-imposes-record-13~billion-judgment.

3 Although the FTC’s Policy Statement and subsequent withdrawal of that
statement specifically address monetary remedies in antitrust cases, the power for
such remedies also arises from Section 13(b). The FTC’s statements thus relate
directly to its perceived authority to seek monetary remedies under the authority to
seek “inj unctions.”

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Commission’s new view, it sees no need for a “heightened standard for
disgorgement.” Id.

The effects of this change have been clear. In recent years, the FI`C has
increasingly pursued actions in federal court, where it can pursue disgorgement
and restitution, as opposed to administrative actions before an FTC administrative
law judge (“AlJ”), where it cannot In 2017 alone, the FTC obtained §5.29 billion
through court orders for restitution and disg,orgement.4 By contrast, immediately
before its policy change, the FI`C sought and obtained in 2011 only $223.7
million5 The Commission’s newly aggressive stance to restitution thus has
exploded the value of such awards by more than 23 times over the span of only a
few years.

Given the Fl`C’s mounting campaign to seek monetary relief under Section

13(b), it is critical that this Court determine whether the Commission possesses

such expansive powers.

 

4 Frc, A Recap of2017.- Frr:’s Annual mghlighrs (Apr. 10, 2018),
https://www.ftc.gov/news~events/blogs/business-blog/2018/04/recap2017-ftcs-
annual-highlights

5 FTC, Annual Highlights 2011: Stats & Data (Feb. 29, 2012),
https://www.ftc.gov/reports/annual-report-standard/ftc-2012/stats-data.

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B. The Commission’s Use of Section 13(b) to Extract Large
Monetary Awards Harms Businesses.

As the 2012 Policy Statement Withdrawal makes clear, the FTC will not
hesitate to punish “common” industry practice by seeking substantial monetary
awards That means businesses could face potential liability for millions or, as
here, billions of dollars for common industry practices that may not even clearly
violate the FI`C Act. The danger to business is heightened by the FTC’s failure to
issue guidance as to when it will seek such remedies. In 2015, two FTC
Commissioners criticized the Commission for the lack “meaningful guidance on
when [businesses] will be forced to disgorge their profits for an antitrust violation,”
and noted that “[t]his uncertainty and lack of predictability faced by firms is
unacceptable.”6

This uncertainty is magnified because, under Section 13(b), the Commission
need not prove the amount of restitution with precision, and may simply seek an
award that “reasonably approximates the defendant’s unjust gains.” Commerce
Planet, 815 F.3d at 603. The burden then falls to the defendant to show the FTC
has overstated the harm. Id. at 604. Under that rubric, “[a]ny risk of uncertainty

. . . falls on the wrongdoer.” Id. (citation and internal quotation marks omitted).

 

6 FI`C, Separate Statement of Commissioners Maureen K. Ohlhausen and Joshua
D. Wright, Federal Trade Commission v. Cephalon, Inc. 2-3 (May 28, 2015),
https://www.ftc.gov/public-statements/2015/05/separate-statement-commissioners-
maureen-k-ohlhausen-joshua-d~wright.

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The Commission’s expanded use of monetary remedies, and the uncertainty
and breadth of those awards, underscores the importance of the issues at stake in
the petition for rehearing en banc.

Ill. OTHER FEDERAL AGENCIES FREQUENTLY SEEK SIMILARLY

EXPANSIVE MONETARY AWARDS UNDER THE GUISE OF
INJ UNCTIVE RELlEF.

The importance of this issue extends beyond the FTC Act. Other federal
agencies rely on their power to obtain injunctive relief to seek substantial awards
of restitution, disgorgement and other forms of monetary relief .

The Food, Drug, and Cosmetic Act (“PDCA”), for example, grants the Food
and Drug Administration (FDA) the power to “restiain” violations 21 U.S.C.
§ 332(a). The FDA, however, has repeatedly used this limited equitable power to
demand substantial disgorgement and restitution awards See, e.g., United States v.
Lane Labs-USA Inc. , 427 F.3d 219, 234 (3d Cir. 2005) (discussing consent decrees
ordering disgorgement with Abbott Labs ($100 million), Wyeth-Ayerst ($30
million), and Schering-Plough ($500 million)). Before Kokesh, courts generally
affirmed the FDA’s ability to seek these remedies despite noting it is “a close call”
because “the FDCA does not specifically authorize restitution.” Id. at 223; see
also United States v. Rx Depot, Inc., 438 F.3d 1052, 1061 (10th Cir. 2006); United

States v. Um'versal Mgml. Servs., Inc., 191 F.3d 750, 764 (6th Cir. 1999).

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Other agencies similarly seek disgorgement or restitution where only the
power for injunctions is granted by Congress. For example, the D.C. Circuit
rejected an attempt by the Depaitment of Justice to seek disgorgement under the
civil RICO statute because the statute’s authorization of injunctive relief is “limited
to forward-looking remedies." United States v. Philip Morris USA lnc., 396 F.3d
1190, 1198 (D.C. Cir. 2005). But the Eleventh Circuit held, in another pre-Kokesh
decision, that the Commodity Futures Trading Commission could recover
restitution under a provision of the Commodity Exchange Act that authorizes
injunctions Commodily Futures Tradr`ng Comm’n v. Wilshire Inv. Mgmt Corp.,
531 F.3d 1339, 1345 (1lth Cir. 2008).

Resolving this issue is thus critically important as the FTC is not alone in
using the power to obtain injunctive relief to seek disgorgement or restitution,
Especially after Kokesh, this Court should bring that ever-expanding overreach to
an end.

CONCLUSION

For the foregoing reasons the Court should grant the petition for rehearing

en banc.

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Dated: March 14, 2019

Respectfu]ly submitted,

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CERTIFICATE OF COMPLIANCE

This brief complies with the lengths permitted by Ninth Circuit Rule 29-
2(c)(2). The brief contains fewer than 2600 words, excluding the portions
exempted by Federal Rule of Appellate Procedure 32(1`). The brief complies with
Federal Rule of Appellate Procedure 32(a)(5) and`(6) because it has been prepared

using Microsoft Off`ice Word 2016 and has a typeface of 14-point Times New

Rornan.

Dated: March 14’ 2019 /s/ llana H. Eisertstein
Ilana H. Elsensteln

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CERTIFICATE OF SERVICE

 

l hereby certify that on March 14, 2019, l electronically filed this brief with
the Clerk of the Court for the United States Court of Appeals for the Ninth Circuit
using the appellate CM/ECF system. l certify that all participants in the case are
registered CM/ECF users and that service will be accomplished by the appellate

CM/ECF system.

Dared: March 14, 2019 /______S/ llana I{. Eisen_srein
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